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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

    Civil Action No. 1:22-cv-01129

    ERIC COOMER, PhD.,

          Plaintiff

    v.

    MICHAEL J. LINDELL, FRANKSPEECH LLC,
    AND MY PILLOW, INC.,

          Defendants


                                     EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

    Civil Action No. 1:22-cv-01129-WJM

    ERIC COOMER, Ph.D.,
          Plaintiff

    v.

    MICHAEL J. LINDELL, FRANKSPEECH LLC,
    AND MY PILLOW, INC.,
         Defendants


                    PLAINTIFF’S NOTICE OF INTENT TO TAKE
               ORAL AND VIDEO DEPOSITION OF JOSEPH OLTMANN


    TO:    Defendants Michael J. Lindell, by and through counsel, Parker | Daniels | Kibort,
           888 Colwell Building, 123 North Third Street, Minneapolis, Minnesota 55401

           Joseph Oltmann, 8245 Keith Court, Castle Rock, Colorado 80108

           PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

    Procedure, Plaintiff Eric Coomer, Ph.D. intends to take the oral and videotaped

    deposition of Joseph Oltmann beginning on November 10, 2022 beginning at

    10:00 a.m. (mdt) at the offices of Recht Kornfeld PC, 1600 Stout Street,

    Suite 1400, Denver, Colorado 80202. The deposition will be taken before an officer

    authorized by the Federal Rules of Civil Procedure to take such deposition.         The

    deposition may be videotaped and use native evidence capture in accordance with the

    Federal Rules of Civil Procedure.

           Pursuant to Federal Rule of Civil Procedure 45(a)(2), the deponent is directed to

    bring with him and produce at the time of the deposition, the documents and tangible

    things described in Exhibit A incorporated into the attached Subpoena and incorporated

    in this Notice by reference.



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         You are invited to attend and cross examine the deponent.

         Respectfully submitted this 29th day of August 2022.

                                          Respectfully submitted,

                                                 /s/ Charles J. Cain
                                          Charles J. Cain, No. 51020
                                          ccain@cstrial.com
                                          Bradley A. Kloewer, No. 50565
                                          bkloewer@cstrial.com
                                          Steve Skarnulis
                                          skarnulis@cstrial.com
                                          Zachary H. Bowman
                                          zbowman@cstrial.com
                                          Cain & Skarnulis PLLC
                                          P. O. Box 1064/101 N. F Street, Suite 207
                                          Salida, Colorado 81201
                                          and
                                          303 Colorado Street, Suite 2850
                                          Austin, Texas 78701
                                          719-530-3011/512-477-5011 (Fax)

                                          Thomas J. Rogers III, No. 28809
                                          trey@rklawpc.com
                                          Mark Grueskin, No. 14621
                                          mark@rklawpc.com
                                          RechtKornfeld PC
                                          1600 Stout Street, Suite 1400
                                          Denver, Colorado 80202
                                          303-573-1900
                                          ATTORNEYS FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing Notice of Intent to

    Take Oral and Videotaped Deposition of Joseph Oltmann has been served on Defendants’

    counsel via email on this 29th day of August 2022:

                        R. Scott Reisch (CO Bar # 26892)
                        scott@reischlawfirm.com

                        Jessica L. Hays (CO Bar # 53905)
                        jessica@reischlawfirm.com

                        Andrew D. Parker (MN Bar #195042)
                        parker@parkerdk.com

                        Abraham S. Kaplan (MN Bar #399507)
                        kaplan@parkerdk.com

                        Jesse H. Kibort (MN Bar #328595)
                        kibort@parkerdk.com

                        Ryan Malone (MN Bar # 395795)
                        malone@parkerdk.com


                                                  /s/ Charles J. Cain
                                            Charles J. Cain




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

    Civil Action No. 1:22-cv-01129-WJM

    ERIC COOMER, Ph.D.,
          Plaintiff

    v.

    MICHAEL J. LINDELL, FRANKSPEECH LLC,
    AND MY PILLOW, INC.,
         Defendants


                                EXHIBIT A TO SUBPOENA


                                        DEFINITIONS

    1.    “Dr. Coomer” means Eric Coomer, Ph.D., as well as any current or former agents,
          servants, or representatives acting for or on his behalf.

    2.    “You,” “your,” or “yourself” refers to the individual receiving this subpoena.

    3.    “Lindell,” means Michael J. Lindell, as well as any and all current or former
          officials, agents, servants, employees, attorneys, affiliates, or representatives
          acting for or on his behalf.

    4.    “FrankSpeech” means FrankSpeech LLC, as well as any and all current or former
          officials, agents, servants, employees, attorneys, affiliates, or representatives
          acting for or on its behalf.

    5.    “My Pillow” means My Pillow, Inc., as well as any and all current or former officials,
          agents, servants, employees, attorneys, affiliates, or representatives acting for or
          on its behalf.

    6.    “Dominion Voting Systems” means Dominion Voting Systems, as well as any
          agents, servants, employees, or representatives acting for or on its behalf.

    7.    “Cyber Symposium” means the event promoted as Mike Lindell’s Cyber
          Symposium, held from August 10-12, 2021, in Sioux Falls, South Dakota.

    8.    “Lawsuit” means the present litigation styled, Eric Coomer, Ph.D. v. Michael J.
          Lindell, et al., Case No. 1:22-cv-01129-WJM, in the United States District Court for
          the District of Colorado.
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    9.    “Subpoena” means Plaintiff’s Subpoena to Attend and Produce in the present
          Lawsuit.

    10.   “Person” means any natural person, corporation, firm, association, partnership,
          joint venture, proprietorship, governmental body, or any other organization,
          business, or legal entity and all predecessors or successors in interest.

    11.   “Communication” means any oral or written communication of which you have
          knowledge, information, or belief.

    12.   “Document” or “documents” mean any recordation of any intelligence or
          information, whether handwritten, typed, printed or otherwise visually or aurally
          produced, including, without limitation, agreements, contracts, warranties,
          insurance policies, forms, acknowledgments, invoices, letters, correspondence,
          memoranda, telegraphs, notes, reports, compilations, electronically stored data,
          emails, notebooks, appointment books, calendars, work papers, worksheets,
          photographs, diaries, minutes of meetings, magnetic tape, movie files, microfilm,
          microfiche, videotapes, print out sheets, summaries or records of telephone
          conversations, personal conversations or interviews and any and all other writings,
          typings, printouts, drafts, copies and/or mechanical electronic, or photographic
          reproductions or recordations thereof in your, your agent’s, or your attorney’s
          possession, custody, or control, or known to you whether or not prepared by you.
          “Document” or “documents” also includes all copies that are not identical to the
          originals, such as those bearing marginal comments, alterations, or other notations
          not present on the original as originally written, typed, or otherwise prepared.

    13.   “Mobile device” means any cellular telephone, satellite telephone, pager, personal
          digital assistant, handheld computer, electronic rolodex, walkie-talkie, or any
          combination of these devices.

    14.   “Identify” and “identify” unless otherwise indicated, means with respect to an
          individual to give the following information:

          (a)   full name;
          (b)   present or last known home address and phone number;
          (c)   present or last known business address and phone number; and
          (d)   title, if any.

    15.   “Identify” and “identify” unless otherwise indicated, when used with respect to any
          act, activity, practice, effort, event, transaction, discussion, conversation,
          occurrence, meeting, agreement, or communication means to:

          (a)   describe the nature and substance of the act, activity, practice, effort, event,
                transaction, negotiation, discussion, conversation, occurrence, meeting,
                agreement, or communication;
          (b)   give the date when and place where it occurred;
          (c)   identify each person who was a participant therein;
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         (d)   identify each other person who was a witness thereto; and
         (e)   if any such event is claimed to be privileged or work product, in addition to
               the foregoing information, state as to each:
               (i)     a general description thereof, without revealing the specific
                       information as to which privilege is claimed; and
               (ii)    the basis on which the claim of privilege is asserted.

   16.   “Relating to,” “referring to,” or “concerning” mean including, summarizing,
         demonstrating, constituting, reflecting, containing, studying, analyzing,
         considering, explaining, mentioning, showing, discussing, describing,
         commenting upon, resulting from, prepared for or used in connection with.

   17.   “State” and “describe” mean to set forth a complete and detailed statement of all
         information, circumstances, and facts that related to the matter about which
         information is requested.
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                                     INSTRUCTIONS

   1.   Unless otherwise specified herein, each request relates to, covers, and requests
        information and documents from January 1, 2020 to the present. The term
        “present” as used in this instruction is meant to be a rolling and continuing period
        of time, rather than the time at which you respond to these Requests.

   2.   If a claim of privilege is asserted with respect to any discovery request, in whole or
        in part, or you refuse to answer any discovery request on any other ground, specify
        the exact basis for your claim that such discovery request need not be answered. If
        the refusal is based on an assertion of privilege, pursuant to Federal Rule of Civil
        Procedure 34, produce a privilege log to:

        (a)    describe the items withheld such that the parties can assess the applicability
               of the privilege; and
        (b)    assert a specific privilege for each item or group of items withheld.

   3.   Each request for production is to secure documents in the possession, custody, or
        control of you, or your accountants, agents, employees, officers, investigators,
        consultants, and other representatives. When a request for production is directed
        to you, it is also directed to each of these persons.

   4.   In those instances when requested information is stored only on software or other
        data compilations, you should either produce the raw data along with all codes and
        programs for translating it into usable form or produce the information in a
        finished usable form, which would include all necessary glossaries, keys, and
        indices for interpretation of the material.

   5.   In making documents available, all documents which are physically attached to
        each other in files shall be made available in this form. Documents which are
        segregated or separated from other documents whether by inclusion in binders,
        files, sub-files, or by use of dividers, tabs, or any other method, shall be made
        available in that form. Documents shall be made available in the order in which
        they were maintained.

   6.   If any portion of a document is responsive to a request, the entire document should
        be produced. If documents that are produced in response to a request are normally
        kept in a file or other folder, then also produce that file or folder with any labels
        attached thereto.

   7.   If a request calls for the production of a document that no longer exists, cannot be
        located, has been placed beyond your control, or otherwise disposed of, set forth
        with respect to each such document:

        (a)    the author of the document;
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        (b)   the addressee, if any, and those persons, if any, who have seen or received a
              copy of the document or who are specified in the document to receive a copy
              thereof;
        (c)   the title of the document, if any, or other identifying data;
        (d)   the type of document (i.e., letter, memorandum); and
        (e)   a summary of its nature and subject matter.

   8.   With respect to production of e-mails or other electronic communications, the data
        is hereby requested in the following format:

        (a)   OCR multipage text files, in a folder named “OCR”;
        (b)   Load file .opt or .log;
        (c)   Metadata associated with the documents in a .dat file;
        (d)   Native File;
        (e)   Summation Load File (.dii), Concordance Load File (.dat), Ipro Load File
              (.lfp); and
        (f)   Metadata, including:
                 1.     To                        11.    Date Created
                 2.     From                      12.    Date Modified
                 3.     CC                        13.    Date Printed
                 4.     BCC                       14.    Filename
                 5.     Date/Time Sent            15.    MD5/SHA1 Hash Value
                 6.     Date/Time Received        16.    Author
                 7.     Subject                   17.    Organization
                 8.     Attachment File name      18.    Title
                 9.     Email/Attachment          19.    File Size
                        Relationship              20.    Custodian
                        Information               21.    Source
                 10.    Message ID
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                             DOCUMENTS REQUESTED

   1.   All written communications with Lindell, FrankSpeech, or My Pillow between
        January 1, 2020 and the present, including, but not limited to, all written
        communications discussing Dr. Coomer or Dominion Voting Systems.

   2.   All written communications with David Clements between January 1, 2020 and
        the present, including, but not limited to, all written communications discussing
        Dr. Coomer or Dominion Voting Systems.

   3.   All documents and communications authored, sent, or received by You concerning
        any compensation for your employment, time, services, expertise, labor, or
        training of others relating to the Cyber Symposium, including, but not limited to,
        any employment contracts, text messages, or emails describing, discussing, or
        promising any form of compensation.

   4.   All documents and communications between You and any other members of the
        so-called “Red Team” at the Cyber Symposium, including, but not limited to, all
        documents or communications between You and Phil Waldron, Doug Logan,
        Conan Hayes, Ron Watkins (aka Code Monkey), Mark Cook, Shawn Smith, Joshua
        Merritt, and/or Lisa Draza, between October 1, 2020 and the present.

   5.   All documents or communications authored, sent, or received by You relating to
        concerns about the accuracy, reliability, verifiability, or truthfulness of the
        information published during the Cyber Symposium.

   6.   All documents or communications authored, sent, or received by You relating to
        specific acts that Dr. Coomer specifically undertook which resulted in provable
        manipulation, alteration, or misreporting of the 2020 election results.

   7.   All documents or communications authored, sent, or received by You relating to
        your attendance at the Cyber Symposium, including, but not limited to, any
        communications inviting you to speak at the Cyber Symposium, any
        communications confirming your attendance at the Cyber Symposium, any
        communications relating to the material you intended to present at the Cyber
        Symposium, and all documents or communications relating to the means by which
        you traveled to and from and the Cyber Symposium.

   8.   All documents or communications authored, sent, or received by You relating to
        the screenshot of Google search results You created on November 11, 2020,
        purporting to show Google search results from September 26, 2020, including, but
        not limited to, any communications describing the screenshot, any
        communications from third parties encouraging or instructing You to create the
        screenshot, any communications providing the screenshot as evidence to support
        your claims about Dr. Coomer, and all documents describing or relating to the
        means by which Google search results from September 26, 2020, could be
        recreated on November 11, 2020.
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   9.      All text messages allegedly sent to you at any point between November 3, 2020,
           and November 9, 2020, wherein you were supposedly alerted of an article claiming
           that Georgia voting machines went down on election day, as well a copy of the
           article supposedly linked to in those text messages which specifically referenced
           Dr. Coomer.

   10.     All notes you took during the alleged “Antifa call,” including, but not limited to, the
           notes You read from during your November 9, 2020 Conservative Daily podcast
           wherein you quoted from your notes, claiming that Dr. Coomer had stated “We
           have prepared for the new future where we put down these fascist [fucks].”1

   11.     All written communications with Joseph A. Camp (aka Joey Camp; Jojo Camp;
           Your Daddy Joey) or anyone acting on his behalf between January 1, 2020 and the
           present, including, but not limited to, any and all written communications
           discussing Dr. Coomer or Dominion Voting Systems.

   12.     All documents or communications authored, sent, or received by You relating to
           any attempts to monitor, surveil, locate, track, follow, investigate, harass, or
           threaten Dr. Coomer, or any member of his family.

   13.     All documents or communications authored, sent, or received by You relating to
           any alleged breach of election software, hardware, or equipment in Mesa County,
           Colorado, including, but not limited to, all documents or communications with
           Tina Peters, Sherronna Bishop, Conan Hayes, Patrick Byrne, and/or Gerald Wood
           between October 1, 2020 and the present.

   14.     All documents or communications authored, sent, or received by You relating to or
           from the individual who gave You access to Dr. Coomer’s private Facebook
           account.

   15.     All documents or communications authored, sent, or received by You relating to
           any of the other alleged participants on the Antifa call, including, but not limited
           to, any discussion of the identities of these alleged individuals, any attempts to
           identify these individuals, or any communications with any of these alleged
           individuals.




   1 See Joseph Oltmann, Dominion and How Big Tech Helped Steal the Election, CONSERVATIVE DAILY
   PODCAST, YouTube, Nov. 9, 2020, https://www.youtube.com/watch?v=9tHeiYgErnw at 16:20. Please note
   that this request does not pertain to the four pages of hand written notes previously disclosed in Coomer v.
   Donald J. Trump for President, Inc., et. al., but rather is directed specifically at the notes You read from
   during the original November 9, 2020 podcast, which You claimed at the time were your notes from the
   alleged Antifa call, and which materially differ from the notes previously disclosed.
